Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 1 of 230




                     Exhibit A
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 2 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 3 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 4 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 5 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 6 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 7 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 8 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 9 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 10 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 11 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 12 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 13 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 14 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 15 of 230




                      Exhibit B
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 16 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 17 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 18 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 19 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 20 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 21 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 22 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 23 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 24 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 25 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 26 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 27 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 28 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 29 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 30 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 31 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 32 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 33 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 34 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 35 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 36 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 37 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 38 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 39 of 230




                      Exhibit C
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 40 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 41 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 42 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 43 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 44 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 45 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 46 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 47 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 48 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 49 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 50 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 51 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 52 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 53 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 54 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 55 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 56 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 57 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 58 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 59 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 60 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 61 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 62 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 63 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 64 of 230




                      Exhibit D
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 65 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 66 of 230




                      Exhibit E
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 67 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 68 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 69 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 70 of 230




                      Exhibit F
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 71 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 72 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 73 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 74 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 75 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 76 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 77 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 78 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 79 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 80 of 230




                     Exhibit G
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 81 of 230




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Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 82 of 230




                     Exhibit H
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 83 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 84 of 230




                       Exhibit I
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 85 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 86 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 87 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 88 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 89 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 90 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 91 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 92 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 93 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 94 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 95 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 96 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 97 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 98 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 99 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 100 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 101 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 102 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 103 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 104 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 105 of 230




                       Exhibit J
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 106 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 107 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 108 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 109 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 110 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 111 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 112 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 113 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 114 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 115 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 116 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 117 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 118 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 119 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 120 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 121 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 122 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 123 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 124 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 125 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 126 of 230




                      Exhibit K
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 127 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 128 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 129 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 130 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 131 of 230




                       Exhibit L
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 132 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 133 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 134 of 230




                     Exhibit M
                 Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 135 of 230

Jeff Rosenfeld
From:
Sent:
To:
Subject:
Attachments:



Dear Isis Agora Lovecruft,

Please forward this correspondence to your attorney if you are represented by counsel.

Please take notice that you have been named as a defendant in the lawsuit entitled Peter Todd v. Sarah Michelle
Reichwein aka Isis Agora Lovecruft, Case No. 3:19 cv 01751, pending in the United States District Court for the Northern
District of California. Attached please find the case initiating documents, including the summons and complaint.

Also, attached please find: a) Notice of Lawsuit and Request to Waive Service; and b) Waiver of Service of Summons. If
you agree to waive formal service of process for this action, please complete the Waiver of Service of Summons and
return it to me by email or postal mail.

Sincerely,
Jeff Rosenfeld




Jeffrey M. Rosenfeld,
PART N ER

KRONENBERGER ROSENFELD, LLP
150 Post Street, Ste 520 San Francisco, CA 94108
Phone: (415) 955 1155 Ext. 112

Get vCard LinkedIn jeff@krinternetlaw.com
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                                                            1
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 136 of 230




                                2
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 137 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 138 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 139 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 140 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 141 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 142 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 143 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 144 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 145 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 146 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 147 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 148 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 149 of 230
           Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 150 of 230




                    Plaintiff(s)




                   Defendant(s)




(Defendant’s name and address)




                                                  CLERK OF COURT
                                                    Susan Y. Soong

                                                          Signature of Clerk or Deputy Clerk
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 151 of 230



KRONENBERGER ROSENFELD, LLP




                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF CALIFORNIA


PETER TODD


                                        COMPLAINT FOR INJUNCTIVE
                                        RELIEF AND DAMAGES

SARAH MICHELLE REICHWEIN aka ISIS       DEMAND FOR JURY TRIAL
AGORA LOVECRUFT




                                          COMPLAINT FOR INJUNCTIVE RELIEF
                                          AND DAMAGES; JURY DEMAND
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 152 of 230




                              INTRODUCTION




                         JURISDICTION AND VENUE




                                           COMPLAINT FOR INJUNCTIVE RELIEF
                                           AND DAMAGES; JURY DEMAND
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 153 of 230




                       INTRADISTRICT ASSIGNMENT




                                 PARTIES




                          FACTUAL ALLEGATIONS




                                           COMPLAINT FOR INJUNCTIVE RELIEF
                                           AND DAMAGES; JURY DEMAND
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 154 of 230




                                           COMPLAINT FOR INJUNCTIVE RELIEF
                                           AND DAMAGES; JURY DEMAND
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 155 of 230




                    @petertodd



                                                      Do not speak to

     me. Do not use work as an excuse to speak to me. Do not use

     cryptography as an excuse to speak to me.




                                            COMPLAINT FOR INJUNCTIVE RELIEF
                                            AND DAMAGES; JURY DEMAND
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 156 of 230




                                           COMPLAINT FOR INJUNCTIVE RELIEF
                                           AND DAMAGES; JURY DEMAND
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 157 of 230




                         FIRST CAUSE OF ACTION

                     (Defamation Under California Law)




                                           COMPLAINT FOR INJUNCTIVE RELIEF
                                           AND DAMAGES; JURY DEMAND
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 158 of 230




                           PRAYER FOR RELIEF




                                           COMPLAINT FOR INJUNCTIVE RELIEF
                                           AND DAMAGES; JURY DEMAND
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 159 of 230




                                      KRONENBERGER ROSENFELD, LLP




                                           COMPLAINT FOR INJUNCTIVE RELIEF
                                           AND DAMAGES; JURY DEMAND
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 160 of 230



                         DEMAND FOR JURY TRIAL




                                      KRONENBERGER ROSENFELD, LLP




                                           COMPLAINT FOR INJUNCTIVE RELIEF
                                           AND DAMAGES; JURY DEMAND
JS-CAND 44 (Rev. 06/17)      Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 161 of 230
The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet.




        County of Residence of First Listed Plaintiff                                                      County of Residence of First Listed Defendant

                                                                                                           NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.
         Attorneys                                                                                         Attorneys




   1    U.S. Government Plaintiff        3    Federal Question                                   Citizen of This State                 1         1     Incorporated Principal Place            4       4
                                                                                                                                                       of Business In This State
                                                                                                 Citizen of Another State              2         2     Incorporated     Principal Place        5       5
   2    U.S. Government Defendant        4    Diversity                                                                                                of Business In Another State
                                                                                                 Citizen or Subject of a               3         3     Foreign Nation                          6       6
                                                                                                 Foreign Country




   110 Insurance                                                                                           625 Drug Related Seizure of        422 Appeal 28 USC § 158             375 False Claims Act
   120 Marine                                                                                                  Property 21 USC § 881          423 Withdrawal 28 USC               376 Qui Tam (31 USC
                                     310 Airplane                        365 Personal Injury – Product
   130 Miller Act                                                            Liability                     690 Other                              § 157                              § 3729(a))
                                     315 Airplane Product Liability
   140 Negotiable Instrument                                             367 Health Care/                                                                                         400 State Reapportionment
                                     320 Assault, Libel & Slander
   150 Recovery of                                                           Pharmaceutical Personal                                                                              410 Antitrust
                                     330 Federal Employers’                                                710 Fair Labor Standards Act       820 Copyrights
       Overpayment Of                                                        Injury Product Liability                                                                             430 Banks and Banking
                                         Liability                                                         720 Labor/Management               830 Patent
       Veteran’s Benefits                                                368 Asbestos Personal Injury                                                                             450 Commerce
                                     340 Marine                                                                Relations                      835 Patent Abbreviated New
   151 Medicare Act                                                          Product Liability
                                     345 Marine Product Liability                                          740 Railway Labor Act                  Drug Application                460 Deportation
   152 Recovery of Defaulted                                                                                                                                                      470 Racketeer Influenced &
                                     350 Motor Vehicle                                                     751 Family and Medical             840 Trademark
       Student Loans (Excludes                                           370 Other Fraud                                                                                             Corrupt Organizations
                                     355 Motor Vehicle Product                                                 Leave Act
       Veterans)                                                         371 Truth in Lending
                                         Liability                                                         790 Other Labor Litigation                                             480 Consumer Credit
   153 Recovery of                                                       380 Other Personal Property                                          861 HIA (1395ff)
                                     360 Other Personal Injury                                             791 Employee Retirement                                                490 Cable/Sat TV
       Overpayment                                                           Damage                            Income Security Act            862 Black Lung (923)                850 Securities/Commodities/
    of Veteran’s Benefits            362 Personal Injury -Medical
                                         Malpractice                     385 Property Damage Product                                          863 DIWC/DIWW (405(g))                 Exchange
   160 Stockholders’ Suits                                                   Liability                                                        864 SSID Title XVI                  890 Other Statutory Actions
   190 Other Contract                                                                                      462 Naturalization
                                                                                                                                              865 RSI (405(g))                    891 Agricultural Acts
   195 Contract Product Liability                                                                              Application
                                     440 Other Civil Rights                                                                                                                       893 Environmental Matters
   196 Franchise                                                                                           465 Other Immigration
                                     441 Voting                          463 Alien Detainee                    Actions                                                            895 Freedom of Information
                                                                                                                                              870 Taxes (U.S. Plaintiff or
                                     442 Employment                                                                                                                                  Act
                                                                         510 Motions to Vacate                                                    Defendant)
   210 Land Condemnation                                                     Sentence                                                                                             896 Arbitration
                                     443 Housing/                                                                                             871 IRS–Third Party 26 USC
   220 Foreclosure                       Accommodations                  530 General                                                              § 7609                          899 Administrative Procedure
                                     445 Amer. w/Disabilities–                                                                                                                       Act/Review or Appeal of
   230 Rent Lease & Ejectment                                            535 Death Penalty
                                         Employment                                                                                                                                  Agency Decision
   240 Torts to Land
                                     446 Amer. w/Disabilities–Other                                                                                                               950 Constitutionality of State
   245 Tort Product Liability                                            540 Mandamus & Other                                                                                        Statutes
   290 All Other Real Property       448 Education
                                                                         550 Civil Rights
                                                                         555 Prison Condition
                                                                         560 Civil Detainee–
                                                                             Conditions of
                                                                             Confinement


   1   Original                  2   Removed from             3       Remanded from         4    Reinstated or           5 Transferred from             6   Multidistrict           8 Multidistrict
       Proceeding                    State Court                      Appellate Court            Reopened                  Another District                 Litigation–Transfer       Litigation–Direct File


                              Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity :

                              Brief description of cause:


                                         CHECK IF THIS IS A                                                                                    CHECK YES only if demanded in complaint:
                                         UNDER RULE 23, Fed. R. Civ. P.                                                                                                 Yes       No


                                                      JUDGE                                                       DOCKET NUMBER
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 162 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 163 of 230



KRONENBERGER ROSENFELD, LLP




                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF CALIFORNIA


PETER TODD

                                       PLAINTIFF PETER TODD’S
                                       CERTIFICATION OF INTERESTED
                                       ENTITIES OR PERSONS

SARAH MICHELLE REICHWEIN        ISIS
AGORA LOVECRUFT




                                        PLAINTIFF’S CERTIFICATION OF
                                        INTERESTED ENTITIES OR PERSONS
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 164 of 230




                                      KRONENBERGER ROSENFELD, LLP




                                          PLAINTIFF’S CERTIFICATION OF
                                          INTERESTED ENTITIES OR PERSONS
     Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 165 of 230


From:           ECF-CAND@cand.uscourts.gov
To:             efiling@cand.uscourts.gov
Subject:        Activity in Case 3:19-cv-01751-DMR Todd v. Reichwein Case Assigned by Intake
Date:           Wednesday, April 3, 2019 12:48:10 PM




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                                             U.S. District Court

                                      California Northern District

Notice of Electronic Filing

The following transaction was entered on 4/3/2019 at 12:47 PM and filed on 4/3/2019
Case Name:           Todd v. Reichwein
Case Number:         3:19-cv-01751-DMR
Filer:
Document Number: 4(No document attached)

Docket Text:
Case assigned to Magistrate Judge Donna M. Ryu.

Counsel for plaintiff or the removing party is responsible for serving the
Complaint or Notice of Removal, Summons and the assigned judge's standing
orders and all other new case documents upon the opposing parties. For
information, visit E-Filing A New Civil Case at
http://cand.uscourts.gov/ecf/caseopening.

Standing orders can be downloaded from the court's web page at
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returned electronically. Counsel is required to send chambers a copy of the
initiating documents pursuant to L.R. 5-1(e)(7). A scheduling order will be sent
by Notice of Electronic Filing (NEF) within two business days.
Consent/Declination due by 4/17/2019. (ajsS, COURT STAFF) (Filed on 4/3/2019)


3:19-cv-01751-DMR Notice has been electronically mailed to:

Jeffrey Michael Rosenfeld         Jeff@KRInternetlaw.com

3:19-cv-01751-DMR Please see Local Rule 5-5; Notice has NOT been electronically
mailed to:
                                       Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 166 of 230




                                   1

                                   2

                                   3                                 UNITED STATES DISTRICT COURT

                                   4                                NORTHERN DISTRICT OF CALIFORNIA

                                   5
                                        PETER TODD,
                                   6                                                        Case No. 19-cv-01751-DMR
                                                       Plaintiff,
                                   7
                                                v.                                          ORDER SETTING INITIAL CASE
                                   8                                                        MANAGEMENT CONFERENCE
                                        SARAH MICHELLE REICHWEIN,                           AND ADR DEADLINES
                                   9
                                                       Defendant.
                                  10

                                  11

                                  12          IT IS HEREBY ORDERED that this action is assigned to the Honorable Donna M. Ryu .
Northern District of California
 United States District Court




                                  13   When serving the complaint or notice of removal, the plaintiff or removing defendant must serve

                                  14   on all other parties a copy of this order, the Notice of Assignment of Case to a United States

                                  15   Magistrate Judge for Trial, and all other documents specified in Civil Local Rule 4-2. Plaintiffs or

                                  16   removing parties must file a consent or declination to proceed before a magistrate judge within 14

                                  17   days of the filing of the complaint or the removal. All other parties must file a consent or

                                  18   declination within 14 days of appearing in the case. All parties who have made an appearance

                                  19   must file a consent or declination within 7 days of the filing of a dispositive motion or the case

                                  20   will be reassigned to a district court judge. Counsel must comply with the case schedule listed

                                  21   below unless the Court otherwise orders.

                                  22          IT IS FURTHER ORDERED that this action is assigned to the Alternative Dispute

                                  23   Resolution (ADR) Multi-Option Program governed by ADR Local Rule 3. Counsel and clients

                                  24

                                  25   Procedures in the Northern District of Cal

                                  26   http://www.cand.uscourts.gov/adr. A limited number of printed copies are available from the

                                  27                                                                         ic Case Filing program (ECF).

                                  28          IT IS FURTHER ORDERED that plaintiff or removing defendant serve upon all parties
                                       Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 167 of 230




                                   1                                                   Magi                                     The Northern District

                                   2   Of California", additional copies of which can b                                                                 e:

                                   3   http://www.cand.uscourts.gov.

                                   4

                                   5                         CASE SCHEDULE               ADR MULTI-OPTION PROGRAM

                                   6    Date                       Event                                                           Governing Rule

                                   7    4/3/2019                   Complaint Filed

                                   8    6/12/2019                  *Last day to:                                                   FRCivP 26(f) &
                                                                     meet and confer re: initial disclosures, early                ADR L.R.3-5
                                   9                               settlement, ADR process selection, and discovery
                                                                   plan
                                  10

                                  11                                 file ADR Certification signed by Parties and                  Civil L.R . 16-8(b)
                                                                   Counsel (form available at                                      & ADR L.R. 3-5(b)
                                  12                               http://www.cand.uscourts.gov)
Northern District of California
 United States District Court




                                  13    6/26/2019                  **Last day to file Rule 26(f) Report, complete                  FRCivP 26(a) (1)
                                                                   initial disclosures or state objection in Rule 26(f)            Civil L.R . 16-9
                                  14                               Report and file Case Management Statement per
                                  15                               Standing Order re Contents of Joint Case
                                                                   Management Statement
                                  16                               (also available at http://www.cand.uscourts.gov)
                                  17    7/3/2019                   INITIAL CASE MANAGEMENT                                         Civil L.R . 16-10
                                  18                               CONFERENCE (CMC) at 1:30 PM in:
                                                                   Courtroom 4, 3rd Floor
                                  19
                                                                   Ronald Dellums Federal Building
                                  20                               1301 Clay Street
                                                                   Oakland, CA 94612
                                  21

                                  22   * If the Initial Case Management Conference is continued, unless otherwise ordered this deadline is continued to 21
                                       days in advance of the Initial Case Management Conference.
                                  23
                                       ** If the Initial Case Management Conference is continued, unless otherwise ordered this deadline is continued to 7
                                  24   days in advance of the Initial Case Management Conference.

                                  25

                                  26

                                  27

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Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 168 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 169 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 170 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 171 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 172 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 173 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 174 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 175 of 230




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Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 176 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 177 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 178 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 179 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 180 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 181 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 182 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 183 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 184 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 185 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 186 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 187 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 188 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 189 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 190 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 191 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 192 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 193 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 194 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 195 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 196 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 197 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 198 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 199 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 200 of 230




                          in pro
  Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 201 of 230




Court Call Telephone Appearance Procedure
           Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 202 of 230


                          STANDING ORDER FOR ALL JUDGES
                      OF THE NORTHERN DISTRICT OF CALIFORNIA
               CONTENTS OF JOINT CASE MANAGEMENT STATEMENT

All judges of the Northern District of California require identical information in Joint Case
Management Statements filed pursuant to Civil Local Rule 16-9. The parties must include the
following information in their statement which, except in unusually complex cases, should not
exceed ten pages:
  1.    Jurisdiction and Service: The basis for the court’s subject matter jurisdiction over
        plaintiff’s claims and defendant’s counterclaims, whether any issues exist regarding
        personal jurisdiction or venue, whether any parties remain to be served, and, if any
        parties remain to be served, a proposed deadline for service.
  2.    Facts: A brief chronology of the facts and a statement of the principal factual issues in
        dispute.
  3.    Legal Issues: A brief statement, without extended legal argument, of the disputed
        points of law, including reference to specific statutes and decisions.
  4.    Motions: All prior and pending motions, their current status, and any anticipated
        motions.
  5.    Amendment of Pleadings: The extent to which parties, claims, or defenses are expected
        to be added or dismissed and a proposed deadline for amending the pleadings.
  6.    Evidence Preservation: A brief report certifying that the parties have reviewed the
        Guidelines Relating to the Discovery of Electronically Stored Information (“ESI
        Guidelines”), and confirming that the parties have met and conferred pursuant to Fed.
        R. Civ. P. 26(f) regarding reasonable and proportionate steps taken to preserve evidence
        relevant to the issues reasonably evident in this action. See ESI Guidelines 2.01 and 2.02,
        and Checklist for ESI Meet and Confer.
  7.    Disclosures: Whether there has been full and timely compliance with the initial
        disclosure requirements of Fed. R. Civ. P. 26, and a description of the disclosures made.
  8.    Discovery: Discovery taken to date, if any, the scope of anticipated discovery, any
        proposed limitations or modifications of the discovery rules, a brief report on whether
        the parties have considered entering into a stipulated e-discovery order, a proposed
        discovery plan pursuant to Fed. R. Civ. P. 26(f), and any identified discovery disputes.
  9.    Class Actions: If a class action, a proposal for how and when the class will be certified,
        and whether all attorneys of record for the parties have reviewed the Procedural
        Guidance for Class Action Settlements.
  10.   Related Cases: Any related cases or proceedings pending before another judge of this
        court, or before another court or administrative body.
  11.   Relief: All relief sought through complaint or counterclaim, including the amount of
        any damages sought and a description of the bases on which damages are calculated. In
        addition, any party from whom damages are sought must describe the bases on which
        it contends damages should be calculated if liability is established.

Effective November 1, 2018
           Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 203 of 230


  12.   Settlement and ADR: Prospects for settlement, ADR efforts to date, and a specific ADR
        plan for the case, including compliance with ADR L.R. 3-5 and a description of key
        discovery or motions necessary to position the parties to negotiate a resolution.
  13.   Consent to Magistrate Judge For All Purposes: Whether all parties will consent to have
        a magistrate judge conduct all further proceedings including trial and entry of
        judgment. ___ Yes ___ No
  14.   Other References: Whether the case is suitable for reference to binding arbitration, a
        special master, or the Judicial Panel on Multidistrict Litigation.
  15.   Narrowing of Issues: Issues that can be narrowed by agreement or by motion,
        suggestions to expedite the presentation of evidence at trial (e.g., through summaries or
        stipulated facts), and any request to bifurcate issues, claims, or defenses.
  16.   Expedited Trial Procedure: Whether this is the type of case that can be handled under
        the Expedited Trial Procedure of General Order No. 64 Attachment A. If all parties
        agree, they shall instead of this Statement, file an executed Agreement for Expedited
        Trial and a Joint Expedited Case Management Statement, in accordance with General
        Order No. 64 Attachments B and D.
  17.   Scheduling: Proposed dates for designation of experts, discovery cutoff, hearing of
        dispositive motions, pretrial conference and trial.
  18.   Trial: Whether the case will be tried to a jury or to the court and the expected length of
        the trial.
  19.   Disclosure of Non-party Interested Entities or Persons: Whether each party has filed the
        “Certification of Interested Entities or Persons” required by Civil Local Rule 3-15. In
        addition, each party must restate in the case management statement the contents of its
        certification by identifying any persons, firms, partnerships, corporations (including
        parent corporations) or other entities known by the party to have either: (i) a financial
        interest in the subject matter in controversy or in a party to the proceeding; or (ii) any
        other kind of interest that could be substantially affected by the outcome of the
        proceeding. In any proposed class, collective, or representative action, the required
        disclosure includes any person or entity that is funding the prosecution of any claim or
        counterclaim.
  20.   Professional Conduct: Whether all attorneys of record for the parties have reviewed the
        Guidelines for Professional Conduct for the Northern District of California.
  21.   Such other matters as may facilitate the just, speedy and inexpensive disposition of this
        matter.




Effective November 1, 2018                       2
      Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 204 of 230




                           United States District Court
                          Northern District of California


                              ECF Registration Information
Electronic Case Filing (ECF or e-filing) is mandatory for all civil cases in this court. Please
refer to Civil Local Rule 5-1 for the Courts rules pertaining to electronic filing. Effective August
19, 2013, e-filing of initiating documents (complaints; notices of removal) is allowed, but is not
mandatory; all other documents must be e-filed in civil cases.

Parties who are representing themselves pro se (without attorney representation) are not
required to e-file and, in fact, may e-file only with the permission of the assigned judge.

Please review and attend to the following important notes and tasks:

      Serve this ECF Registration Information Handout on all parties in the case along with
       the complaint or removal notice and the other documents generated by the court upon
       filing.

      If not already registered, each attorney in the case must register to become an e-filer at
       cand.uscourts.gov/ECF. Your ECF registration is valid for life in this district; please do
       not register more than once.

IMPORTANT NOTICE: by signing and submitting to the court a request for an ECF user id and
password, you consent to entry of your email address into the courts electronic service registry
for electronic service on you of all e-filed papers, pursuant to rules 77 and 5(b)(2)(d) of the
Federal Rules of Civil Procedure.

      If you are a party and do not have an attorney and would like to e-file in the case, please
       visit cand.uscourts.gov/ECF/proseregistration for instructions and information. Unless
       and until the assigned judge has given you permission to e-file, you are required to file
       and serve papers in hard copy (paper) form.

      Access dockets and documents using your PACER (Public Access to Court Electronic
       Records) account. If your firm already has a PACER account, please use that account. It
       is not necessary to have individual PACER accounts for each user in your office. To set
       up an account, visit: pacer.gov or call (800) 676-6856.

ECF interactive tutorials, instructions for e-filing and other information are available at:
cand.uscourts.gov/ECF.
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 205 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 206 of 230
                  Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 207 of 230

AO 398 (Rev. 01/09) Notice of a Lawsuit and Request to Waive Service of a Summons


                                          UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Northern District
                                                     __________  District of
                                                                          of __________
                                                                             California

                                                                            )
                              Plaintiff                                     )
                                 v.                                         )       Civil Action No.
                                                                            )
                            Defendant                                       )

                  NOTICE OF A LAWSUIT AND REQUEST TO WAIVE SERVICE OF A SUMMONS

To:
      (Name of the defendant or - if the defendant is a corporation, partnership, or association - an officer or agent authorized to receive service)

          Why are you getting this?

       A lawsuit has been filed against you, or the entity you represent, in this court under the number shown above.
A copy of the complaint is attached.

        This is not a summons, or an official notice from the court. It is a request that, to avoid expenses, you waive formal
service of a summons by signing and returning the enclosed waiver. To avoid these expenses, you must return the signed
waiver within          days (give at least 30 days, or at least 60 days if the defendant is outside any judicial district of the United States)
from the date shown below, which is the date this notice was sent. Two copies of the waiver form are enclosed, along with
a stamped, self-addressed envelope or other prepaid means for returning one copy. You may keep the other copy.

          What happens next?

         If you return the signed waiver, I will file it with the court. The action will then proceed as if you had been served
on the date the waiver is filed, but no summons will be served on you and you will have 60 days from the date this notice
is sent (see the date below) to answer the complaint (or 90 days if this notice is sent to you outside any judicial district of
the United States).

        If you do not return the signed waiver within the time indicated, I will arrange to have the summons and complaint
served on you. And I will ask the court to require you, or the entity you represent, to pay the expenses of making service.

          Please read the enclosed statement about the duty to avoid unnecessary expenses.

          I certify that this request is being sent to you on the date below.

Date:
                                                                                              Signature of the attorney or unrepresented party


                                                                                                                Printed name




                                                                                                                   Address


                                                                                                                E-mail address


                                                                                                              Telephone number
                 Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 208 of 230

AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Northern District
                                                     __________  District of
                                                                          of __________
                                                                             California

                                                                             )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No.
                                                                             )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To:
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                                      , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:
                                                                                            Signature of the attorney or unrepresented party


        Printed name of party waiving service of summons                                                      Printed name




                                                                                                                 Address


                                                                                                             E-mail address


                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 209 of 230




                      Exhibit N
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 210 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 211 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 212 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 213 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 214 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 215 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 216 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 217 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 218 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 219 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 220 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 221 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 222 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 223 of 230




                      Exhibit O
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 224 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 225 of 230




                      Exhibit P
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 226 of 230
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 227 of 230




                      Exhibit Q
Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 228 of 230
  Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 229 of 230




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Case 4:19-cv-01751-DMR Document 9-1 Filed 05/08/19 Page 230 of 230
